Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 1 of 16 Page |D #:7

EXHIBIT A

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 2 of 16 Page |D #:8

 
 
  
   
   
  
       

SUMH°NS
{clTAcloN Jumcw.)
NoncE~ronr='FE»mAn'r. .
rawsonom~moo;.- ° 03;.§’§§»9§:§?1§2§`§§3§"`

PARKER DRILLING MANAGEMBNr sERvICES. INC., a mm
Wm, inclqu

fqu mem esqu sYPmm:
{Lo ESTA mma mANoANrE).-
. BRIAN NEwroN, an individm,

FEB 1 ? 2015

mar E. P:l.rkar, Encudvs Oifber

Y
E;.l$&|"l. MEJ\. E§D; EER

Wmmmmmmummmpmmsom

m .
‘I'oohavomwm%mmmmmummmmmbmammdmmmdlmuampy
savedmmpat\ml.khuum'pimmdmmpmdyw.mumnmnmhhmlqaihmlfywmmhmnhhasyuur

mmmmammmumymmmpwwwm¥wmmdmmhmudnmhwmhnai¢ocammhm
Om W(M.Mwmww.whwhmwmlmmmmmqmm
hauan stammffyouwmhmmmm.mmmmmwmmmmmy.mpmm
whamvihmnmwmhmwm
mumomar|agnlmquhmm¥wmaymwmnanmMlm.\fywdonclmmm.mmaywmuulmm
winnian Rmumulsffudmmm£ww¢llgwowmmmmlmhgalwvloaspmgmn.‘rwmlnum
mmmmmmopsnhcanhuhugd Mshwmmmh wolman-tween
\mmwmhnmw}.orhymmhdmwmmwmmmmmmsmmwumdwm
mmmummanmmrdd$w.mormmaMmmwm[mmmhoplidhwwmmwmdlmhhm.
Mm!mmda:mdado. Hmmmmmoh$mhmpmwmummmmmmhmms

mwmmwmmmawbmmmymwmmwmmwmmm
mqusaemugmmmpbddmm mmammw\leano»mm mmpu'wlmmmm
sum mdmwpmwmmhm&mmmmmmummmmwwm.
Pom'» emmahmymhhbnmdhmdm¢dmdshm¢mbmmmmmh
warsawwwMomhmquahmwm&mpmmhm¢mwphdmmdohm
mb#mmmdom~ddumpmd¢m §mmmmmmammpmdmwmmhwbyhmh
pndrdqdlrmnnkh,dnloyhmahw

MMMMW Bmmnum§hgmmemwmm Emm¢m¢mwahw¢mmwbdz
Mam$mmmawsmwmmammwm£mmwmmhmmm
mmawmmm¢mmmsmmwnm mmdmmaemwsdsum
MHMNlI-m),mdwhm$wmmmwwm)opmmmmhmod
M¢bnhopdalwm.nmmhg hmmmdqambmyhmmmpormmmm
mwmwnddnds$fd.wbdm#d»mmmmmmamM¢Wmmm¢mmdl. mm
mimm¢hombmdamhmpumdusdmrdm

1119 mdadckmsofi|laoolmk: mm
¢El£:oymadmaemmn): SantarhamCountySupm-iorcmm "””""M 148?'[]51
llooAmpasc..saannrwn.cAsalzl-nm

mmvnummm .mmmmw

 

 

 

 

 

mmadd:mandm!sphmomunberdpmmm's .utphm|!fwidmanmonm,is:
¢Emmhrs. hmoddnya!nmmdam$hnods!abogado denma, odddammqurmnom¢bngudn,

ol):
Midmel A. Slnuss, Esq., Palay Law I"irm, APC. 121 N. Flr St.., Slc. F, Veovml, CA 93001; 805-641-6600

E- F‘Hrkar. Exacutlve Oflmpy
~ ~-- . _ tamm

 
     

mm m Darrei
¢F»dw) FEB 1"'?"15 fsmgdo) :;.
'- swmmna,usai'mnfn no- aj
{Parlmmbads¢nlragndsmwtimmdfnrmw¢do mufof$enhafsmnnmfFOS-Of¢)}}.
mmTHE PERSO|IBERVED:YNE!BW

m 1. [:| asmmmlaemm.

2. m mmparsanamdmdarumwommotfapemd:

-.- ¢..-__-.`..,..--¢.»,...._.

 
 
  

       

 

0\.- Dr'a..-¥i m
under GOP 418.10(¢011\0¢559:\} OCP 418. {mhof)

CGF' 416.20 fdafl.¢m:\ cumulaton) m CCP 418.?0 {umul~ttau)
;'"___1 ccP uaw goodman ar umw ['_'] ocP 416.90 gann-mind wm)

4. m wigme tommy §§ Lp \\ l'\"*"

a. wmwdmm?@*'wpm“f\ m&;;§mn+ §,<\JELLSL»¢

 

 

 

 

mmi
mandamus nn
mcmanus SUHWNB did mug-hom ama

wm mMN,m

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 3 of 16 Page |D #:9

\GM*-lU‘\l-J'l-P'LMN*-‘

odo-¢r-‘\-¢s-¢
G;-"'.z;;.hmm»-»o

RU§BBES

27

zs`

Michael A. Su'_auss, SBN 246718
And:ew C. E SBN 283884
qJ PALAY LA_W _
121 North Fu' Street, Suzte'F
mmra, CA 9300!

V

Tel . 805 641~6600

FM §805; 641-6607

E-mail: mike@palaylaw.com

Anomcys for Plaintiffand the Putarive Class

iBRIAN NEwToN, m individual.
Pmnrifr;
`V.
PARKER DRILLn~rG MANAGENENT
SERVICES, INC., aNsvada Corpocdion;
md nor-:s 1 through 100, inclusive,

Defendants.

SUPBRIOR. COURT OF TI'!E STATE OF CALIFORN]A
FOR. THB COUNTY OF SANI'A BARBARA

 

RECORD:

follows:

 

 

 

gi TOALLIN!`ERESTEDPARTIESHEREINANDTOTHEIRATTORNEYSGF

COM`E NOW, PLAINTIFF Brinn Newhcm (“PiainiiE’) and the putative class, md
submit the fouowing complaint against PARKER mmme MANAGM sEchEs,
INC. and DoEs 1 hough 100, inclusive (w`uwcively “D~.-fmdmu"), md each of 111-as

1. AI all times herein mentioned, Plaimih` Brim Newton was an employee of

m

F§LED

WPINGR CDUR" of CALIPORN
COUN'TYOF SAN'T.\ EARBAH*IA

FEB 1 7 2015

am E- P¢"k'-W. Exea.rdva O|'|lc._r

 

CaseNo.

1487!|51
M

COMPLA]NT FOR:

1) mm wAGE
vloLATIoNs;

z) mman 'ro PAY mmme
AND hamm
rnmum wAGF.s;

3) FAn.uP.E m 'mmLY PAY
man wAGF,s;

4) nw sum vIOLA'rIONs; mo

s) UNFAm mMPETmQN

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 4 of 16 Page |D #:10

Defmdmm,wmkingmwemmofcalifumia,vdminm¢mfour@)ym

2. Unlmothemisesmwd,atau&meahueiummlioned?himiifmmindvi¢hxd
midinginthccolmqrofvonmm,$tamof€alifmniu. Plaintid`becamearesidmtofl{m'ds
Cmmty, Texas in or aboutNovunber 2014.

ll 3. Aialltimmhueinmcotimed,Plaiotiffisinformedmdbelicveamd,basedon
mchinfomadmmdbche£tvuemahegmtthmkoDrHEongammSuviwghc.,is
anadaoorpmutimdmdwsbusinmintheCo\mtyomemBarban,Cahfmnia.

4. Thcuucnamesmdcapanities,whsthorindividuaLcorpoma,moniam,
mmv¢momm¢, ormawnamsidmnnedminasoqm 1 through 100,
inclmive,u§mlmswnm?ldndf,whodmefommewedafmdmubysdd£cd&ous
names. Phintih'winmmdthiscomphd:tmauegetheuueonmmmdupacidesofwl
thmughloowhmth:yhmbemascuuinoiDoesldnnu@-lwmmsnmemmuulcgahy
mpansiblnfordmwromgsmd'mjmluallegedhuein. '

5. Ewhnfhsno:fcndmha¢wdmd:eagenlormploywofwothmmdeach
modwithhthosoopoofthatngmcyorunployment.

6. VmueisappmpxiateinSmIaBarmeo\mtySupcriorComtbenauseme
17 unlaw§demploymuupnodeeacompiainudofhminommedinthc€ityof®lem,
18 Cdifmoingmtyomemmema,mdinthcomhmwmintthmmBarbamChmel.
19 ON ATIO
20| 7. Plaindffbxhlgsdw§rstdueecausesofmimmwdhuewmhismbdalf
21 mdmbehaanoHpusmssimHuiysiwatedTbechmeonsimofaHhomiymphyeanf
22 Pa¢modumgmmgmmsmiws.m,who,umywwimnwymmm¢mof
23 Elingofddshwsuh,wmkedonodphtfoonso§ofthecahfomiammfmpuiodsof%
24 houmormme(hareimfte:the“l’llmive€hss”). 'I'h:PuiztiveClasanpmsmtsuwrZ$
25 pmmdiosonummusthmmejoinderbfeachmembe:ofthepm:iveolassis
26
27
28

\QOO*~IQNU\LUM»-l

. i-\r-\»-l

. |. 1101
8. muehawdl-d@€nedwmmm£tyofinmestinquumtiumoflswmdfmct
Mctingthsclasses Plnimift`repzuecn!s. TthumiveClammmnben‘ claims against

y ' _a'smzum

 

 

 

 

 

Case 2:15-cV-02617-RQK-AGR Document 1-1 Filed 04/06/15 Page 5 of 16 Page |D #:11

Defmdanwinvolvequcsiqosofmmmmmgmudhnueshwthumchwasemployedby
Defmdams,mduchwunotpaidwagesqwedbasodond:esmefoihremmmpmmfor
ulmdudngwhi¢hmeywmmjmwmemmlofnemm,mmmm
amnrmmmmmmd¢mmmm nmqmimmmhwpmr
ofasmteof&zbuommnnwthemunbmofthehmdveclasswiumiideachmmbww
themliefmqueswdinthisonmplaio!.

9. mmmdmemwcwmpmwmmmmm
madequawmmedynlawogawmnefendmns,omummbymaimmmneofmisclassacdm,
bemaethHEisinfomedmdbeHwes.mdmsudxwfomadonmdbeliefouegm,thume
dmageweanhmemberofdm?mmiv¢€hssisreladvelysmanmddmtitwmddbe
emomicallyw&esibkmscekrmuvdyagaimmowummbyadmacdm.

10. th§£fwmfairlymd¢deqomvmpmmmemmofmmwcm,
vmmw§n’ismmbemfwrmnv¢cmmdrmmmmqpmorm
intimPutaclveClass.

11. mgm mployea by owns sum apme Jmmy 25, 2013 w
appmu¢imately Ianmty 1$, 2015.

y 12. Plaintiffwudcedonmoilplatfonnoffofdmcali£umiamtalwam Hlsahi;h
typinuymwduaayl nemmpq'formmzhmmhdaywvn¢mmoopmm.
HedidnotreoeivemyomnpemalinnforIZMmswhHeontheplad'ogmenchday. Hecould
notwnablyleavedceplatfmmducinghis l¢dayshin.

B§IQAQLOEACTIDN
22 minimme
23 (A¢unnnmugmnyrmnunonmauotmmmu
24 AndTh¢Putativ¢GallAgainstAl]Ddendants)
25 13. Pminuffmmporwhymf=wmmdm_auegumhmd`waymorm
26 megnwmmwedinm¢gwwngandfmgowgpmwomiscmwmmfnmy
27 Isetfmd:hereio.

14. Califomia¥aw requdupajmmtofatleostd:esmte-mmdmdminimmwage

3
COM.¥M'II'|T

\°W\JG\MLWMH

\-¢»-»-¢r-»
UMl-\Q

 

»-¢n-\»-n¢-¢
*-~lO‘\U!-F\

 

355

 

10
'.¢\

 

 

 

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 6 of 16 Page |D #:12

immth workedme unploym. (se¢Lab.Code.§§ 1194.1197.) army
wagumnotbcavaagedwtmoovefhoumwrkeddudogwhichmcmnpmso£mwupai¢
,(seeAnmmv. am (2005) 135 cal.AppAm 314. snu.) Timedmingwhi¢hawmkm
cmnotleuvehismhuwodmiw,cveuslwpinztimmisomsidmdhnmwmkndunder
\Cllifomialaw. (A(endiolav.€PSSecurffySoiwions,Inc.(Cal.,]an.$,ZOlS) ISClLDaily
0p.Se1.-v.203.)

15. Phind&’andthn?lm|ive€lassmguhrhrwodwdhmmsfmwhichtheywmnut
(paidu»minimumwagg omams'minimmwag¢vimomwaud¢,mmmnmm
mmraumwpaymymgmwhmmwrmndsmdwmwcmmxzhm
eaohworkdly. .

16. Phind&`aeekssunhmindn\mwngesowedwthmnfmdmthmo-ympuiod
measuedbaokward&omdmdateofdleilingofdlcini&d€nmpkimiothismm.

l?. mmmmmtofmioimumwdgesowedwi]inotbefd]lyumrminedundl
cimawmplm uwncfmmcspm=ezv=n=wmyaomwrwmwmg,
HPhintiEis\mabletndewoninzthemctamo\mtofminimnmwagesowed.

IB. Labor Codo section 218.6 stams, "[I]n any winn brought for the nonpayment of
wages,thecomtshdlmdinmest-auduemdmpaidwagesmthemeofinm
spod£edinslabd'rvisioo(b)ofsedion$ZB§oftheCivilCode,wbichshallmuc&mnthe
dawnm:wwagmmmmdp.y¢m¢upmide¢wpm1(mm¢ingwirhsw&on
ZM)ofDiviSiGoZ.” Plaintid`senklsuchin!m¢stonollmioimmnwagesowedtothmforthe
mmpuiodmmedmudommemafuienungnfmmcmpmmmmis

mullen
" 19. Plaimiii’seehliqrddoteddamagminmamnuntequa\totheminimumwages
-duetohimmdthe?utativecllssundm'LaborCcdeswtionll%.Z.

20. PmsunmtoLaborCodesectioollM,PlaindffrequemdmCmmmmmd
Plain!i&'sreasonable attorney'sfeesandcostsincmudinthiswtion.

\DW-la'\U\-I\-UJM»-

l-¢-¢n-l
;E':EH\-\G

 

 

pa
-\.|

WHB.REFORE, Plaintiff and the Pnutive Class demand judgnem against Defendants,
and each of thun, as follows:

B-"£'&’H§BBEB'G;

 

 

4
m

 

 

 

Case 2:15-cV-02617-R_GK-AGR Document 1-1 Filed 04/06/15 Page 7 of 16 Page |D #:13

l. Forminimumwagwowndnwm'dingtoproof;

2. For prejudgment interest pursuant to labor Codc section 218.6 and Civi] Cude
sections 3288111:¢1 3291onallamomnsclaimed;
, 3. Forliquidamddamag$inmamomnequaltothounpaidminimumwagesowed
underLaborCodasection 1194.2;

4. Forannmcy'sibesandcostspummnttol,aborcodesectinnll%;

5. Poroomsofsnit',and

6. Foranyothermdfdr|imrrclicfthatd:e€omtconsidushmmdpmper.

SECOE_I_) CAUBE §LF_ AC’I'I(_)§

\DW*-JE\UI¥LWM»-

10 ram woman

11 (A¢aion nmghtnyrhindnon nmuofmm¢n

12 Ana ne haw msprnAonmd¢m)

13 27. Phwnfrmwpmvyrefermmmuegamnmdmmofm

14 aucgaimsconmhedhldmpwdwgmdfomgohgpmwofmiscomp!dmuifhdly
15 setfo!thhemin.
16 28. Califomial.abor¢odesectionmpmvideo:

11 Eva'yunployersdalhsemimunthlyoutthedmeofwhpqment
13 ' ofwages,hunisheanhofhisorhmunployeea, aimerasadmnhab]epm

ofthecheck,dran,orvouchupayingd:employee'swagu, olsepamtcly
mp whmwagmuepaldbypncsonoldmckorcash,miwmizedstatommtin
20 writingshuwing(l)gmsswagmmmod,@)mmlhomswnd:edbythe
“ mpl°¥e¢.exceptfmanymployeewhoseoompmadmissolelybased

 

 

ona`salm'yandwhoisexmnptfmmpaymmofovu'timemdex
subdivision(a)nfseotion$l$ oranyapplicableocrdu'ofdlolndumial
Welhm€ommission,($)themmbuofpiew-m\mitseamedmdmy
applicablepieoomteiftheemphyeeispaidooapiwe~rawbasis,(4)all
deductions,pmvided,t]mta!ldedudioosmadsunmitmo!dmofthe
employeemaybe¢gwtcdandshownasoneitom,($)netwages
emed,(d)\helnclnsivedmofthepuiodforwhichdleemployeein
paid,(?)d:enmcofmeunployecendhisorhersocialsemriqnmbm',
(B)EQnmomdadd:usofthclegelem:hythdisdmunpluyer,md(Q)
27 allapplicablehoudyratesinefibctdmingdmpaypuiodandme

conespondingnumbuofbomswmkedatadhuurlymebythe
23 mplv¥¢=-

§B'£BRS.".’.

m

 

 

 

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 8 of 16 Page |D #:14

29. Indlisease,Defendathzvefaile¢}mpmvidesuchwagedodu¢donsmmis
||wmdsmdmermuwcmmmmmmgemmmdommd¢,
wdhomumimdon,d:eirgmsswagmeamed,anhomswodmd,ndwagsmed,oran
appHmMehomlymuineMdmingthePl¥Pdi°¢dwommpondiognmbunfwm
watkedatoachhourlymtcby\hounployee,anddxenamemdaddlessuft\lelegalmtitythn
ismempaoym~. mammmorcodewunnzze(¢),dmgesmappmmm mm
quHaindffbeHwesmdauegesdmthemddleradchInssmowedthemmdmum
allowable penalty under section 226(0) bwse Dei`mdants failed 110 provide adequate
paychecksmbs. Howeve¢,theoxnutmno\mrofdanmgumdcrlahorcodesedionn&(e)will
notbowllynsoatninedmtildiscovelyisoompleted. UntilDefmdaanmduoetheneeeasm'y
mwmmmrmvmwmdmwwmmofm
mmc¢demmz`zs(¢).

30. Pms\mnttolabor€odesectionné(e),?laindffrequemwecwnwgwud
Phind£’sceasomblemney’s£emmdcostsinmmedby?lnind£fiuthiswdom _

WHEREFORE,PlaianfmdthePumiwClmsdmmdjudmmngammm,
mmbofthm:l,asfollm:

l. Fm'mo.mypenalties,pms\mltwlaw;

2. Fm'reasonableaunmeys‘fempmsumtl.aboxcodesecdnnm;
;; ' 3. Forcoatsofsnit:and

4. Fnranyothsrmdf\mheueliefthatd\ecomonnsidmjustand}uopu.

21 ' cAu orr oN

\d¢¢'--l°\Ul-ILUNH

10
11
12
13
14
15
16
17
18

 

 

22 Uqfair¢bnq:dldon

23 gActiuanugstyPhindEOnBethOinmsdI

24 mmrm¢iv¢camAgain-¢Annmdms)

25 31. Plaind&°innoxpommbyrefe:mneandre»a!legesewhmdwuymofthe
:: dkmudwsmwwdwrhepmwdlosmdmowspmwhsofthiscmpwmmmmgh

healyme mm

 

 

 

 

 

 

Case 2:15-cV-02617-RQK-AGR Document 1-1 Filed 04/06/15 Page 9 of 16 Page |D #:15

32. mmafwdonisbdngbmugwpmmmcmromiaommmd
memaiol€odosection 17200etseq.dealifomiamselawina1udinng-:ezv.th
A:r swann mann co. '(2000) 23 calApp.4m163. `

n 33. ninu¢gedm:msmdmmm¢wiumly£an¢dwpaypmfmdmmmaw

Chas,dlemw-mmdawdmhdmm,ovudme,double&mqmdmealpuiodpzunhmwaga`
foxallhom'sworked. ’I`hefailmetopnysuchwaguoonstimtesmunhh'busineaapmcdce
mderCalifmniaBusines$mdProfmsionsCodesemimlmb.

34. Asaresultoftheconductochfmdmts,Defmdmmewd&nmhreakingdm
law. Plain§ff'mddlehmiveclassseekdisgmgemmofthismdow&llyobmhedbme§l
[pwsintmmtbawn)§ndlefom-ywpuiodmmedbwkwnrd&mnthedawof§nogd
thehi&lcomplnin!intbismalwt.

35.. CalifnmiaBusinessandefesBions('.'-ndoseotioo 17203,lmderth.eamhmity of
f'whioharestimtionarymdarmaybemadc,pmvidm:

 

 

\DGQQ\LH¢F~WMH

h\_'*H
:BM»-'G

Anypmwhnws»sm-mmwd,wmmwmww
mfairoompediionmaybecnjoinedinmyoomtofumnpamn
ju:isdiction. 'I`he¢ou:tmaymdccsuch_ordauorjudgmmls,
wmdingmeappoinmmtofamoolver,a`mybenemsnyto
provcnttheuscofempluymmtbyauypm'sonofmypmmioc
whichuomtimcs-lmfairoompetitiml,asdcwdwmisehapm,m
asmaybeneomm'ytorestmewmype:sonininmestmymmy
orpropmy,realampmoLwhichmayhmhwoaoquimdby.

meansofs\wh.unfaircmnpetition. Anypasonmaypmsue
11 mm¢cmo¢muefmmrrarommnmyifm¢
claimantmeetsd:estmdiogrequi:memsofswtiml?zmmd
compHeswithectionZBZoftthodeofCivilPxooedmc,bm

u-¢ ¢-¢¢-¢r-
iii-goguch

22" mummmdonmpplyw¢wmmgmmmumpm

23 bytheAtooro:yGeuuaLormydisiriotmomey,oountyommseL
ciiyatlnmcy,m'citypmsoommind:isstnte.

24

25| 36. Asamultofd:edlegodaforuaidacdms,?hindffmdchc?umive€lasshwe

26 sufesedi:gmyhxfactmdmvelostmoneyuamohofmhunbirmedtim.

27 37. Inth!sease,kisrequesmdthnthiscounordunuohm§nxdm

28 WHE.’REFORE., Plaioti!f and the letive Clw dmndjudgmeot minn Defmdams,

7
W

 

 

 

 

 

Case 2:15-cV-02517-R(_3K-AGR Document 1-1 Filed 04/06/15 Page 10 of 16 Page |D #:16

11

landeachofthem,asfollaws: _
2 l. Foranequjmbleordm',orderingDefeodaanpayallPuhdichlassmmbm
ailmmgu,inmesc,mdpmm¢smeymowed;
4 2.. Foranmpoinunontofamoeivertopufunnmmomdngofallmmiesowedm
5d1meunployees;
6 3._ Foranyandaninj\motivoreuefi:is€omtdeunsmuypmmnthusinnss
7 and Professions Code motion 17203;

s 4.' Fmaunm¢ys'fmmdmscs:

9 5. Forprejudgmentintmmtonahammmtsowedpmsuantto€ivilcodesecdnns
111 3283£|1¢13291‘,811¢1

 

 

11 6. Foranyothermdmermliefthatthecomtumsidmpmpet.

12 13 mm usa oFA on

13 wave rom¢!ymwwmrmmm

14 mem nnughinyrvmucronn.muormm.u

15 mn¢rm¢iveclam\gaimmmnmu)

16 38. Ploin!i&'inompomwbycefmoemdm-anogeaeaohmdwuyoneoflhe

17 disprionoconmwedinthop:ewdinsmdfumgoinspmgraphsofmhcompldmnifnmy

18' sctfmthhe.tein.

193 39. mcca¢mamzmpmvides. Tmmployuau¢vngwmmluyw.m
ammmdunpddmwdmeofdischmgemdmmdpayableimmedhwly.”

21 Defmdanmdidmtpayimmediatelyanwag¢$wnedmdmpddmmdn£§mdthe?m&ve

22 Classupondisnhm‘ge. Do&odmtshavemi:aedmdco¢‘muemrefusempaymidwagu.

23 40. PmsumntoLaborCodesectinnzo$,Defmdmmhavevdllfulhrhiledwpay

24 hwidmutabamneu£orrodnmion,inawmdm¢¢withhbm€odnaedions%ldeQZa!lofdm
mm,wmqmmpmw,mmwmmofmrmfmdmmv=clm,

26 asheredlallegod. Defmdaot¢mawmtbatdleyowethemgucluhnodby?himiffmdme

27 letiveClms,yetDefendaniswillRll!§'&il¢dwmaksps¢mcoL Asamsult.?iaimiifsoeks

28 wages mdwai:ing-time panaltiespmsnmtwLahorCod: section 203 onbehalfofhimselfmd

m

 

 

 

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 11 of 16 Page |D #:17

thePutmlveClnss. ThesepcnaltieacnnsistofuprOdaysofpaymelaintiEPmn&veClass_
attheirregolarrawsofpay.

41. Plahdifandd:e?um&voclasshavebeenavailabkmdmdywrecdvewagu
owedtothem. l

42. Pléinan'mdmrumiwclasshavemmnmmmmmypaymmm
havemeybemabsmtf¢m&eirregularplaomofmsidmoe.

43. Defendmts'hihnewpaywageschleanduwlng?laimidmdw?umdwchss,
ashdiemdmpdmpuagaphs,waswdlhd;mfmdanuhsveknowinglymwsedwpnymy
pm‘lionofdzeamomtduoandowningmaind&'mdthe?mntivo€lass.
r1 mompmmmnmemvecwmmdjudgmmmwn=&nmm,
andeachofd:em,asfollows:

1. Forwaidng-dme pmaliios\mdarLaborCodosectim 203;

2. Forcostsofsuitand.

3. Foranyothermdtin‘ldsrmliefmatthscnmtconsidusjustmdpropcr.
MBUS§OFAEON
Fo£ln'e!'o?rovid¢£mqfldlcfeul?edob
(A¢IioanughtByPhintil!'OnBehalfOinmsdf
Andl`he?otative€lauAgninltAllDefen¢ants)

46. Plahxtid'incmpnmmbyrefemnocandre-allcgeseachmdcvuyoneofths
anegadomounminedmmcpmcedwgmdfomgowgpmagmphsoflhiscomphdan§my
setford:hecein.

4?. Califomialuwpruvidestlmtnodmploymshanunpluymypmonforswmk
23 puiodofmomd:mivehmuswithoutamralpuiodofomlusihon$Omimm. (Lab.Code
24 §§ 226.1,512.)

25 48. Ifanemployer£\ilstopmvidememployeealegalbrmmdawdmealpaiod,the
Zélemployershall pay the employee one hour ofpay atthcomployee’amgularrate of
27 oompnmationforuch§vehomsofwmkthnt&mmmlpaiodisnotpmvide¢

28 49. Det'mdanm have intan:ionlllyandhnpwper!ydmiedmeal_paiodsm?laindff

9

m

woodmen-hump-

»-¢1-\\-»
ssanams:s-¢

 

 

1333

 

 

 

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 12 of 16 Page |D #:18

1 1 mdtthumtiveClassioviolmic-n ofl.abochodesections 226.?md512.

2 so. A¢auummexevmvmw.rmwnn'mamammmhmommv¢
3 "cmsshmw¢rmmmmmnwhommwmkdny(moommmmmmmm
4 mmm¢yhm; mmmm¢mmm,n¢fmwummmwpmm¢mm
s lipm°dsrmmawhommpmwmqmdbycumniam.

5 51. Pmmmmmmmofmrmwcm»mwmmmmdb=um,
7 mdbmedupondmtinfnmadonmdbon¢fauege,MDefmdmkmwmshouldhave
s mmpmsmm=mmcmmmnueawmmpmwbmmay¢m
9 notwmvideumemmmpmu¢.

101l 52. Plaintift`sedcsmellpniodpcemiumwaguowodtodxmfortheth:w-yw
11 podedmmedbackwn:d&omthedmooftheiungofwehd&d€omplmmmismm.
12“ 53. memomo\mtofmealpedodpremhmwagaowedwiunotbom|]y

13 ascertaineduntildiswveryisoompmed. lindlDefendmtsprodloetheneecssarydowmm
14 formmcomdog,Pldndffismablcwdemmimedmmdmnmmofmmlpmiodpwmium
15 wageaowed.

16 21. Laborcod=monzla.sms,“mnmywdonbmugmwmmpaymmmf
11 wages,thc¢mmshanawmdimercstonand\mmdmpddwagmatthemtooflnmest
18 specifiedinsubdiviaion(b)of$ecliom§£$§oftheCiviiCod¢,whiuhsha|lamefmmthe
19 mmm¢mgmmmmdp»yameupmid=dwrmummmgwuvmm
20 200)ofDivision2." Plainliffseekssmhintnrestonanmulpmiudpmmilmvmgesowedto
21 dlamfordwduwyearpuiodmeasmedbaokwdiumdmdueofthc§£ngofthe‘midd
22 Complaintinthismntter.
23 wmomrvwdsmdwmmmmmjmmwmrmm,
24 andehohofthmi,asfollows:
25 1. Formealpuiodpremiumsinanammmtaomdiogtopmo£;

25 2. Forcosmofsui!;and

27 3. Faraoyod:umdhntherroli¢fthatthe€omioonsidasjustmdpmpu.

23 MW

lo
W

 

 

 

 

 

Case 2:15-cV-02517-R(_3K-AGR Document 1-1 Filed 04/06/15 Page 13 of 16 Page |D #:19

MFM
Fai!m'e To .qu OIWBAMD@MMMMM Wags
(Adioo BmoghtByPhlntlHOnBehall'Oinmult
AndThePutalivaClaasAg:instAllmfendanu)

SB. Piaintiffinoorpmtesbyrcfmoemdro-nuegeseachandwexynncofthn
diemimswnwimdmmepmedngmdfomgoingpmmphsofthis€mpldmmifwuy
selforthherein.

59. Califmnialawmqhimpaymentofovenimepmniumpayforauhomsmdwd
lbynon-m¢cmptemployeesinexcusofeighth:onedayorwhouminoneweekandfordm
firsteighthomsontheseventh-suaightdayofworkinonewmkwe=k. (Lab.Code,§SlO.) It
huthnmquirapaymemofdoubledmspmi\mpayfmdlhmwmiedbynom-mmmpt
employeesine:massoftwelvehmusinmedayorine)wesaofoighthomonthesevcmh-
smigh¢dayofwmkinasinglewodmeek. (Ibid.)

60. Timedmingwhichawurkercannotleawhisorhcrwmksite,evmsleeping

time,isconsidmedhoursworkedlmdercalifmnialaw. (M¢nd£o!av.CPSSecm'ig¢SoMiom,
ma (cal., Jm s, 2015) 15 ca1 navy op. sm. 203.) `
ll 61. Plainh"ffandthePutaiiveClassregulorlyworkcdhom's foerd1d1uywuenot
paidthnuve:tim¢:mdoublctimsplmiumwagm. Defmdm!s’nvettimeanddoublethmwage
violationsindude,b\tamnotumiwdm,thetdilmuwpmrmywagmwhmwvcrw?lamtitf
and'd:el’utative C!ass for 12 hours eachworkday, whichtlme lawfullywasconsidered
mmmdoumm¢vmworm '

62. Plaintiffmdthe?mativeclusswksushovutimcanddoubledmcpmnium

wagesowedtoihmnformednee-yearpedodmeasmedhaokwm'd&omthedmofdm§lingof
melnitial(.‘.omplaimintlzismatter. `
l 63. Theeo¢actmnmtofovmimeanddoublctimeprcmiumwagmaw¢dwillnmbe
idlyaseemimedumildiscove:yiscompleted. UmilDefendantspmduccthenecessary
docummmformmommdng,?bwisunablewdemmioemcmotmmmtofwer&me
anddoubletimepmni\mwagwuwed.

\hn¢‘~lQ\V\-LWMl-*

l-ll-I\
nolo

 

 

BBRU§BBBBGESEE§BE

11
m

 

 

 

 

 

Case 2:15-cV-02517-R(_3K-AGR Document 1-1 Filed 04/06/15 Page 14 of 16 Page |D #:20

 

1 64. mmcodemmzla.em“mnanymbmgmmmem¢ymof
2 wages,me¢mmsvanmmmohaummmmpndmnm=mo£m¢
3 spean¢dmsuvdivision(h]orswumszssofch¢civncad=,msmum&omm
4 damihuthemgaswuedueandpoyabkaspmvidedw?adl(cunmmdngwithsedim
5 Fl21111)01`D1visi0n 2." Plaioti&'seeks such interest cm all ova'time and doublede premilm
6 wageadwedwmmformednwywpmiodmeasmedblckwudiumthedamofthcmhguf
7 theinitialComplaintinthismatta. _
B 65. Pms:mnttaLaborCodese¢timll%,Plaintiffmqumtstthomwawnrd
9 Plaimi&‘sreasonablemmncy’sfeesmdoostsinmedhdaisadion.

10 WHEREFORE, Plaintlffand the PutaliveClassdanmdjudgmgnt against Defendanm,
11 mdmchofthm).,asfollows:

12 1. Porovettimemddoublntimepmniumwagesmdawuxdingtopmo£

13 2. For prejuth intend pursuant to labor Code section 218.6 md CivH Code
14 sections azssmdazsl nimmmu<mn=a;

. 15 3. Foratmmey’sfeesmdcostspm'sumtwLabm'Codemctim 1194;

16 4. Fcrcostsnfsuit;lmd

11 5. Foruqudmmdiiudwrrelieftb£tthe€omtmosidm` .' x-

lB DATED:February 15, 2015

19 _

20

_21

22

23

24

25

26

27

23

 

 

 

 

 

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 15 of 16 Page |D #:21

 

 

 

 

 
   
 
    

 

 

 

 

 

 

-‘m'am “Wf:~“-~~“" ~m~w
PALAYLAWF|RM.AFC _
121 N.HrS¢..S!eF.me,CA%Ml §§§_§D
_ - rc»usoumn
Wm lgsoo mm sos-641-6607 s“'”“'°“°°“'§~?m wm
mm M liablean __ coumoF sa h
mmwcammor SanuBarEam FEB 1 ? 2015
MW llOOAnacapaSt. ‘
wollman narrolE. .Exosul|vaoff\cef
' mmmm Santm'bam.CA 93121~1107 EY_W%AT-
M§ap_mwma€ounhm . nw
assume _
-NME v.ParkBTDn.uin_lE_ l -_.-_1-¢;: ltsel'vice$,ll'lo.
CMI..GABECOVERSHET cmmmm wm 1487“5'
v _
"m:‘ Um' mm m M
dmnded Mwwrndwpummbymum m
of - rule mm
1-6__ - wm?i_
1 C%mdcmbo¢hdmvhr&mmwpeummdamwmhme:
mm mmcmlm
mm mmde lmlw~ld¢ow\‘.mvm-am}
ummmm] mammamam¢oo> 1:] mwmm¢m¢m
mmm¢mquuqmmm I:] numme Wmuno}
mun |:1 bowman Mosalon{¢so)
mm l:l common _ |: mmmm
manhva arm § Mmmm;
Mwmdpm:tlel{d) Emlnmldomdn|hm hamm adams
mpmm MU‘} mold mmmw
mm¢ouun're¢¢ W¢Mnm> le
[:| mcmwmnmmpumm °\`\°_"'"MW¥ H'“'“°'“°'MM
mangum wm W=¢mmm
mm mmi nmmcomum
l:l mann ' l:l maximum |:l mem
mammomum m unpaid mmmmw¢mdm(m
MWM> m m mmmrwm
mmmmm¢ss) m M,uwm
EbW-m mmmmmum) |__~| WWMW'MM“""WM"°“

 
   

     

 
 
 

 

 

. mean - h minnol mmmrmwdmcdmhmhdmm!dmmhmmnmm
mmmmep£ond|uddalmnsgmnt:
mm Largemmberolaepamh!ympmaemedpmiu ¢Ewmmmbero{m
u.{:l wmmmmmmmnmmwumw e.|:|ooommmmmaeummmmm¢mm
loeuasmntwi£lbomno-mmrdngmmnm lnomareoumios.a|zim.oreonm'lu.m'lnafe¢emlmm
¢|:| Wmmdmmmmm ¢. mmmmmwm=mup¢m

3. wondieoanudd(dzadtallhdwh¢]: a[?Jmonawry b.l:lmmmonnh:y:dodmlnryorh';|mdimmnd nmi-mgm
4. Numbafolmlloofld|onfspad?j: 5

5. mann -is Ehnot adaosadonudt. --
B. Hmmanylmummmedma.‘nhandmamdaolmlmad

 

 

 

f "' -'J:F`ig'---- - .
Da\a: Februnry 13. 2015 - - _..
MichaelA. ¢'- 1 . !__...,-i!!v ___.. ,__
.T. ` . m“,£ "_`_T;_ *,'__.. -_ ..--_ .. ._rr__,._,... _ ,__- m. .
¢ Prak\dflnmaimamlomarnhoewwntmhl iledhheadonarpme¢ho(empiumudmmmormnfhd

MthathllBOode.FamllyOoda.u mduwmomcdol(¢almdoomncb$m.}hlbmhmammn

wasnan
'Fllad\hmoheatmddldmwanymrahastmquhddbybdoumwh. -
¢ Hndol_bmnp%mtundnrmbm etoaq. dunn Cal!umh mddoomtywmmampyotwsmmm;u

 

omarpardoslou'laadonorpmondlng.
-umw\hblaaMcmumunms.?dnwamwxme.mbmmlmhamhrdmim. d
"'“‘__'_ ' ' '_“'-'“‘_""' __' _ "‘__" '""_""’__°__'_”'‘__"'“""""___~-___---_~-*mm...i__r_l._l_`_:_‘i:_T;;________1
Wm““ CM|..-GMEGCWERBHEET m

Hm¢mmll.lm
moinm\.m - m

Case 2:15-cV-02517-RGK-AGR Document 1-1 Filed 04/06/15 Page 16 of 16 Page |D #:22

OH-MU
mmbl$°lm\¥w?:cg:¥m££limm m M w w
m WMF¢MFHMLI m a pape mem a m m
::mhhmdg:m\dmmmdm.hdgwmmwmmmme 1. mkmmdamadhampno
mudulmmwamnmhadmm¥wmmm1m€mhm lumbme
mbmw&nmqpowbe¢dmwhm lllamohhdhapnmmdlmmadkwdmlndmmi,
wmmmmdwemmmuwpbmduimdwmdmmhmm¢mphwmdm.
Tommmmmmwwdmmwhwqmmunwhhmmpummm Am
MMMM¢WWMWM.Modmwammuhmhpw&dhlddwmwam,
hmwmbmmwmudmdhwhhkhdmn m d
T¢thmh&mwadmnm AWWWMB.WBWMMM my m
mudhummhbmwhmmmmwdmmmmmmmlmm
Mm.mwnmywmddmm nwmdmmmnmadmmhmwmm
mmmm@)mdmdm.($} dmm,nr$}lwap.dgnmmd
mmuumdama¢nbs.?¢ummm wmamwmbemmmgmm
mmmwmmmnmmummnwdmhummphm; An.do$.?¢loeolhdnm
mwmhsmb;sdhme¢qdmmvmmmlhmmhm$.?w.

 

 

 

had-f

